                                    IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                            3:15-CR-00298-RJC-DSC
                USA                                           )
                                                              )
                     v.                                       )               ORDER
                                                              )
                QUINBY BOYD                                   )
                                                              )

                          THIS MATTER is before the Court upon the defendant’s pro se letter again

               requesting a sentence reduction under 18 U.S.C. § 3582(c)(1)(A). (Doc. No. 106).

                          The Court denied the defendant’s previous motion, (Doc. No. 79), and motion

               for reconsideration, (Doc. No. 95), which raised similar issues, (Doc. No. 92, 96:

               Orders). Those decisions were affirmed on appeal. (Doc. No. 101: Opinion). The

               information in the instant motion is insufficient overcome the Court’s previous

               findings that he failed to establish extraordinary and compelling reasons to reduce

               his sentence and to show that he would not pose danger to the community upon his

               release.

                          IT IS, THEREFORE, ORDERED that the defendant’s request, (Doc. No. 106),

               is DENIED.

                          The Clerk is directed to certify copies of this Order to the defendant and the

               United States Attorney.
Signed: April 24, 2023




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